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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         BILLINGS DIVISION


 UNITED STATES OF AMERICA,                  CR 20-73-BLG-SPW-1

            Plaintiff,
                                            ORDER QUASHING SUMMONS.
     vs.                                    ISSUING SUMMONS, AND NEW
                                            ARRAIGNMENT
 BRETT WILLIAM JAMES JONES,

            Defendants.

      Upon motion of the United States, and for good cause shown,

      IT IS ORDERED that the summons issued in this case that requires the

Defendant to appear and answer to the indictment on October 6, 2020 be

QUASHED. The Clerk shall prepare and issue a new summons for the Defendant.

      IT IS FURTHER ORDERED that the arraignment currently scheduled on

October 6, 2020, at 9:00 a.m., be VACATED and rescheduled for December 1,

2020 at 9:00 a.m.

      DATED this 2nd day of October, 2020.

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                                        TIMOTHY J. CAVAN
                                        United States Magistrate Judge




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